Case 1:19-cv-04142-BMC   Document 19-6       Filed 02/10/20   Page 1 of 5 PageID #: 277




                                         1
Case 1:19-cv-04142-BMC   Document 19-6       Filed 02/10/20   Page 2 of 5 PageID #: 278




                                         2
Case 1:19-cv-04142-BMC   Document 19-6       Filed 02/10/20   Page 3 of 5 PageID #: 279




                                         3
Case 1:19-cv-04142-BMC   Document 19-6       Filed 02/10/20   Page 4 of 5 PageID #: 280




                                         4
Case 1:19-cv-04142-BMC   Document 19-6   Filed 02/10/20   Page 5 of 5 PageID #: 281
